                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

                                                   Chapter 11
     In re
                                                   Bankruptcy Case No. 20-10343
     Boy Scouts of America and Delaware BSA,       (LSS)
     LLC,
                      Debtors.                     (Jointly Administered)

     National Union Fire Insurance Co. of
     Pittsburgh, PA, et al.,

                       Appellants,

     v.                                            Case No. 22-cv-01237-RGA

     Boy Scouts of America and Delaware BSA,
     LLC,

                       Appellees.



           REPLY BRIEF OF THE LIBERTY INSURERS AND THE ALLIANZ
                                 INSURERS




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      The Liberty Insurers1 and the Allianz Insurers (collectively, the “Insurers”)

hereby file this reply brief (the “Reply Brief”)2 in further support of the Opening

Brief on Appeal of the Liberty Insurers and the Allianz Insurers Regarding

Treatment of Class 9 Claims and Related Matters (Dkt. No. 43) (the “Opening

Brief”).

                        PRELIMINARY STATEMENT
      In their Opening Brief, the Insurers addressed two errors by the Bankruptcy

Court: First, the Bankruptcy Court approved an improper allowance process for

Class 9 claims that deprives Class 9 claimants, including the Insurers, of

fundamental protections the Bankruptcy Code provides by shifting the burden of

proof under Section 502 of the Bankruptcy Code from the debtor/objector to the

claimant/insurer. Section 502 of the Bankruptcy Code (read in conjunction with

Bankruptcy Rule 3001 which governs the filing of a proof of claim) provides that by

merely filing a proof of claim, a claimant (in this case, an insurer) has provided

prima facie evidence in support of its claim and places the burden of objecting to

allowance of the claim on the debtor.      Here, the Plan reverses these express




      1
        Capitalized terms used but not otherwise defined herein have the meanings
given to them in the Opening Brief.
      2
        The Insurers are signatories to the Reply Brief of Certain Insurers (the
“Principal Reply Brief”), filed contemporaneously herewith.
                                       -1-
provisions by requiring the claimant/insurer to, among other things, demonstrate that

its claim is not subject to disallowance.

      Second, the Bankruptcy Court at the urging of the FCR and BSA adopted an

improper and prejudicial Judgment Reduction Clause. This Judgment Reduction

Clause, among other things, inappropriately limits a non-settling insurer’s Recovery

Claim (for, e.g., contribution) to amounts which may be off-set against such non-

settling insurer’s liability to the Settlement Trust. As such, the Judgment Reduction

Clause fails to compensate for any portion of a Recovery Claim exceeding a non-

settling insurer’s liability—if any—to the Settlement Trust. And even this minimal

reduction is hampered by asymmetrical finality-of-judgment language that

essentially prevents application of an offsetting Recovery Claim until expiration or

exhaustion of appeal.

      The FCR and BSA are the only parties that responded to the Opening Brief.3

And even these limited responses are deficient insofar as they do not address a

number of the arguments raised in the Opening Brief. They ask this Court to affirm

the Confirmation Order because the challenged provisions of the Plan and TDPs are

the product of interconnected settlements that purportedly provide “fair” treatment

for the Insurers, and are otherwise commonplace in mass tort bankruptcies. But



      3
        See Dkt No. 81 (the “FCR Brief”); Dkt. No. 66 (the “BSA Brief” and,
together with the FCR Brief, the “Appellee Briefs”) at 260-68.
                                            -2-
neither explains how the terms of a purported patchwork of settlements can be

imposed upon non-settling parties (like the Insurers) who do not consent to being

bound by the terms of those settlements.

      Nor do BSA or the FCR cite any authority to justify how allegedly

commonplace provisions in uncontested mass tort bankruptcies justify the

abrogation of the Insurers’ rights under the Bankruptcy Code and applicable law

where the Insurers are objecting. There is simply no basis to abrogate the non-

settling Insurers’ rights, or to bind them to a set of procedures that arose from

purported settlements to which they were not party and did not consent. Both BSA

and the FCR assert that the Insurers’ fears are unfounded, pointing to Judge Houser’s

role as Settlement Trustee to allay any fears as to the administration of the Settlement

Trust. There is no doubt about Judge Houser’s reputation—but that is not the issue.

The issue instead is that the TDPs conflict with applicable law. And that is a problem

Judge Houser cannot fix. The FCR seems to recognize this, as he briefed at length

how applicable law supposedly allows the Settlement Trust to have the benefits of

the Insurance Policies (e.g., indemnity rights) without being bound by concurrent

contractual obligations (e.g., reimbursement of deductibles or the duty to cooperate

in the defense of claims).

      The architects of the Settlement Trust have now said the quiet part out loud—

the system is designed to prejudice the Insurers in favor of the claimants. It provides


                                         -3-
little comfort that a person of integrity has been nominated to oversee administration

of that system. The infirmities identified in the Opening Brief and discussed herein

must be remedied. Accordingly, the Insurers respectfully request that the Court

reverse the Confirmation Order and remand with instructions to remedy these

problematic provisions to comply with the Bankruptcy Code and applicable law.

                                        REPLY

I.    THE FACT THAT THE PLAN IS COMPRISED OF A “TAPESTRY”
      OF SETTLEMENTS DOES NOT JUSTIFY MODIFICATION OF
      INSURER RIGHTS UNDER THEIR CONTRACTS OR APPLICABLE
      LAW.

      BSA and the FCR repeat arguments below that the Plan is a series of

settlements reached among BSA’s disparate stakeholders, with each necessary to

ensure BSA’s reorganization. BSA contends that “[t]he global resolution embodied

in the confirmed plan of reorganization is a carefully calibrated compromise among

the often competing interests of” the Settling Parties (as defined herein) and that the

“Plan is a tapestry of interconnected and interdependent settlements.”4 BSA warns

that “[i]f any one of the settlements is eliminated, the totality of the global resolution

embodied in the Plan would fall apart, an outcome which would, in turn, threaten

the full payment to abuse survivors and the survival of Scouting.”5




      4
        BSA Brief at 3, 8.
      5
        Id. at 8.
                                          -4-
      The “global resolution” that BSA champions through its Plan involved “the

BSA, Local Councils and Chartered Organizations . . .; [certain] insurance

companies that issued policies to the BSA, Local Councils and Chartered

Organizations covering claims for Scouting-related abuse; and abuse survivors”

(collectively, the “Settling Parties”).6 Furthermore, the FCR characterizes the Plan

not only as a “global settlement,” but also a “proposed settlement framework” that

the FCR argues “constitutes a reasonable, equitable, good-faith compromise” of

Abuse Claim liability.7 Whether BSA and the FCR assert that the Plan itself is “a

carefully calibrated compromise” or simply provides a “framework” for settlement

in the form of the TDPs, the result is the same. Both positions fail to support the

Bankruptcy Court’s decision.

      The Bankruptcy Court itself rejected these arguments, taking issue with

whether the compromises forming the scaffolding of the Plan are “truly settlement

agreements” “for purposes of Bankruptcy Rule 9019” or are, instead, “consensual

resolutions of Plan terms or resolutions of confirmation objections.”8

Notwithstanding this ruling, the Appellee Briefs continue to frame the Plan as an




      6
        Id. at 3.
      7
        FCR Brief at 6, 26-27.
      8
        A. 79.
                                       -5-
intricate web of settlements that cannot be disrupted or disturbed without collapsing

the Plan in its entirety.

       Presumably, BSA and the FCR would tell this Court that reversing the

Bankruptcy Court’s rulings on the claims allowance and judgment reduction issues

the Insurers appealed will “threaten the full payment to abuse survivors and the

survival of Scouting.”9 Even if that threat were credible, unsubstantiated predictions

of catastrophe cannot justify the Court affirming the rulings below.10           If the

Bankruptcy Court is right and the Plan is not the product of numerous settlements,

then, for the reasons stated in the Opening Brief, the Insurers’ rights cannot be

abrogated by their class of creditors voting to confirm the Plan. If, however, BSA

and the FCR are right and the Plan is a web of settlements, the terms of those

settlements cannot extinguish the Insurers’ rights without their consent.

       The Settling Parties could not (and cannot) unilaterally impose an alleged

“tapestry of settlements” on the Insurers. Courts uniformly “look to the fairness of

the settlement to other persons, i.e., the parties who did not settle.”11 In Nutritional

       9
         BSA Brief at 8.
       10
          Both issues raised by the Insurers can be resolved by simple amendments
to the Plan that would not prejudice the rights of any party or delay payment to Direct
Abuse Claimants.
       11
          In re Nutritional Sourcing Corp., 398 B.R. 816, 832-33 (Bankr. D. Del.
2008) (citation omitted); see In re Miami Metals I, Inc., 603 B.R. 531, 535 (Bankr.
S.D.N.Y. 2019); In re Masters Mates & Pilots Pension Plan, 957 F.2d 1020, 1025-
26 (2d Cir. 1992).

                                         -6-
Sourcing, the bankruptcy court ruled that the proposed settlement embodied in the

plan was not “fair and equitable” where “those parties whose rights were severely

adversely impacted were not afforded meaningful participation in negotiations” of

the terms of that settlement.12 That the class of claims affected by the settlement

voted in favor of the plan was not sufficient for the bankruptcy court to conclude the

settlement was fair and equitable to creditors that had no opportunity to participate

in the settlement.13

      A settlement is not fair and equitable to non-settling parties where such

settlement “seeks to alter parties’ rights without their consent and lacks many of the

Code’s most important safeguards.”14 Because a settlement cannot impair the rights

of non-parties, non-settling parties typically lack standing to object to such

settlements.15 That changes, however, where the non-settling party sustains “some

formal legal prejudice as a result of the settlement.”16 Legal prejudice occurs where

a settlement “formally strips a non-settling party of a legal claim or a cause of action,




      12
         Nutritional Sourcing, 398 B.R. at 836-37.
      13
         Id. at 838.
      14
         In re Biolitec, Inc., 528 B.R. 261, 269 (Bankr. D.N.J. 2014).
      15
         Bhatia v. Piedrahita, 756 F.3d 211, 218 (2d Cir. 2014).
      16
         Id.

                                          -7-
such as a crossclaim for contribution or indemnification, invalidates a non-settling

party’s contract rights, or the right to present relevant evidence at a trial.”17

      The purported settlement(s) in the Plan and TDPs clearly seek to strip the

Insurers “of a legal claim or a cause of action . . . [and] invalidate[] [their] contract

rights[.]”18 By way of example, the TDPs seemingly will impair Liberty’s rights

under its fronting policies. Liberty issued a number of “matching deductible”

“fronting policies” to BSA and other “named insureds” (which include the Local

Councils).19   In essence, Liberty provided a financial accommodation that is

achieved by having each policy’s deductible, which erodes the policy’s limit of

liability, match the policy’s limit. Pursuant to these arrangements, Liberty could

advance BSA’s deductible up to $1 million, in return for which BSA or the Local

Councils were contractually obligated to reimburse Liberty.20 At all times prior to



      17
          Id. (emphasis in original).
       18
          Cf. id.
       19
          Liberty also wrote certain high-level excess policies for BSA. Although
this discussion focuses primarily on the rewriting of the fronting policies, the
Insurers incorporate by reference those arguments raised both herein and in the
Principal Reply Brief as they relate to the impermissible rewriting of contract terms
through the TDPs.
       20
          A. 13644 (“Pursuant to the terms of the Insurance Policies, Liberty Mutual
may advance any part or all of the deductible amount on behalf of Policyholder for
claims which are the sole and exclusive liability of Policyholder. Policyholder agrees
to reimburse Liberty Mutual for such payments, and any allocated loss adjustment
expenses and costs applicable to such claims.”).

                                          -8-
the bankruptcy case, BSA reimbursed Liberty for any amounts advanced.21 Simply

put, there never was an instance prepetition where Liberty would pay a dollar that

would not be directly reimbursed by BSA.

      But the TDPs invert this arrangement, requiring Liberty to pay in full any

deductible that, prepetition, it could elect to advance. In exchange, Liberty must run

the gauntlet of claim allowance provisions discussed in the Opening Brief that the

FCR now admits were designed to maximize recoveries under the Insurance Policies

at the expense of the Insurers. This fundamentally alters the contractual bargain that

Liberty struck with BSA prepetition, and this Court should reject it.22

      The same is true for any alteration the Plan and/or TDPs purport to impose

upon any other non-consenting Insurer. The Insurers played no role in drafting the

Plan or TDPs.23 Despite being parties to the global mediation, BSA excluded the

Insurers from the Plan and TDP negotiations. Therefore, absent their consent (which

      21
          A. 7260 ¶ 2 (“Historically, the deductibles for these ‘fronting’ policies have
been paid by the BSA.”).
       22
          The impairment of Insurers’ rights under their policies and applicable law
is no accident. The FCR discusses at length how he believes that the Settlement
Trust is entitled to take the benefits of the Insurance Policies without being saddled
by the burdens. That position is fundamentally at odds with governing case law,
common sense, and even the claimants’ prior statements. See A. 5925. As discussed
at length in the Principal Reply Brief, there is no authority, under the Bankruptcy
Code or case law, to dismember a contract in order to transfer its benefits but
extinguish the burdens, regardless of whether that contract is executory. Principal
Reply Brief, Part II.A.2.
       23
          A. 6175; A. 6304.

                                         -9-
they do not give), there is no basis for imposing purported settlement terms on the

Insurers, and it was error to do so.

II.   THE APPELLEE BRIEFS MISSTATE THE INSURERS’ POSITION
      AND   THE  GOVERNING     LAW   CONCERNING    CLAIM
      ALLOWANCE AND BLUR THE LINES BETWEEN “TREATMENT”
      AND “ALLOWANCE”.

      Both BSA and the FCR make a number of assertions to justify their position

that the claims allowance procedures are valid. As set forth herein and the Opening

Brief, their assertions lack merit.24 However, there are four issues worth clarifying

for the Court that the Insurers believe BSA and the FCR purposefully muddied in

the Appellee Briefs.

      First, BSA and the FCR inaccurately argue that the Bankruptcy Court duly

considered whether the disputed provisions of the TDPs relate to allowance or

treatment.25 Despite recognizing in the Opinion a difference between allowance and

treatment,26 the Bankruptcy Court did not determine whether Article IV.B of the



      24
          For example, while the FCR asserts that the Insurers lack standing to
challenge the claims allowance procedures because their Indirect Abuse Claims are
not yet liquidated and do not identify a corresponding Direct Abuse Claim, he
simultaneously seeks to bind the Insurers to the claim allowance procedures set forth
in the TDPs. The Bankruptcy Court and this appeal is the correct forum for the
Insurers to challenge the impairment of their rights as Indirect Abuse Claimants.
Having chosen to impair the Insurers’ rights, well-settled law is clear that the
Insurers have standing to challenge those efforts.
       25
          BSA Brief at 261-62; FCR Brief at 33-34.
       26
          A. 265.

                                       - 10 -
TDPs constituted allowance or treatment of Class 9 Indirect Abuse Claims until

several weeks after it issued the Opinion in real-time at oral argument.27 The Court

then incorrectly determined that Article IV.B constituted treatment, which the

Insurers lacked any ability to challenge because Class 9 voted to accept the Plan.

The disputed provisions supplant the Insurers’ rights under Bankruptcy Code

Section 502 with claims allowance procedures arising from a settlement to which

the Insurers were not party. Since Article IV.B does not address treatment of claims,

it does not matter that Class 9 voted to accept its treatment. The proper question

before the Court is whether the Settling Parties can exclude the Insurers from a

settlement but nevertheless force the terms of that settlement upon them and, in

doing so, abrogate the Insurers’ rights. And the Insurers respectfully submit that the

answer to this question is “no.”

      Second, a theme running throughout the Appellee Briefs is that the Insurers’

objections were rightfully overruled because the contested provisions allegedly are

commonplace in mass tort bankruptcies. But neither BSA nor the FCR cites any

case law suggesting that parties such as the Insurers cannot object to plan provisions

that abrogate their rights simply because such provisions have made their way into

the terms of an uncontested plan. They likewise fail to cite any authority to support

the proposition that these procedures that abrogate the Insurers’ rights should be


      27
           A. 9347 (“I think it’s treatment, it was voted on.”).
                                          - 11 -
approved in the name of judicial and procedural efficiency. Indeed, none of the

cases upon which either BSA or the FCR relies involved a dispute over claims

allowance provisions or the other provisions that BSA and the FCR contend promote

efficiency. Each of the cases they cite involved either “closed trusts”—that is, a trust

where all parties, including any insurers, had settled and agreed to pay their

settlement contributions when the applicable plan went effective—and/or included

robust language guaranteeing that the plan would not impair any non-settling

insurers’ contractual or legal rights.28 In such cases, there simply was no opportunity

(or reason) to test whether the claims allowance provisions were consistent with the

Bankruptcy Code.

      Had the Insurers been involved in any part of the “tapestry” of purported

settlements that paved the way for the Plan and TDPs, or were the Plan to include

language that actually preserves the Insurers’ rights under applicable law and their

policies, there would be no need for this appeal. Unlike the litany of cases cited by

BSA and the FCR where all parties had settled, the Insurers remain on the outside


      28
          BSA points to what it incorrectly refers to as “insurance neutrality
language” in the Plan and TDPs to support its argument that the Insurers’ rights are
unimpaired. As discussed more fully in the Principal Reply Brief, this so-called
neutrality language is circular and fails to accomplish what BSA claims is its
intended goal: to preserve all insurance matters for decision by a coverage court.
The fact that this language is circular—and therefore ineffective at actually
protecting the Insurers’ rights—is evidenced starkly by the FCR trumpeting the
ability for the Plan to dismember the Insurance Policies into their attendant rights
and obligations and assign only those rights that will benefit the Settlement Trust.
                                         - 12 -
looking in. These entirely inapposite cases therefore provide no basis to overrule

the Insurers’ objection to the flawed claims allowance process under the TDPs. Nor

is there a need for the Court to burden itself with reviewing every claims allowance

provision in the cases cited by BSA and the FCR to determine how closely the terms

of those provisions are mirrored in the TDPs here. There is instead a very simple

solution to the disagreement among the parties—the TDPs should provide that any

Indirect Abuse Claim that has been or will be filed is subject to allowance or

disallowance pursuant to Section 502 of the Bankruptcy Code.

      Third, both BSA and the FCR mischaracterize the Insurers’ argument as one

of disparate treatment.29 The Insurers understand that Class 9 voted to accept the

treatment of its claims. As such, the Insurers are not contesting disparate treatment

between Class 9 (Indirect Abuse Claims) and Class 8 (Direct Abuse Claims), nor are

they challenging the fact that there are different allowance provisions for Class 8.

And the Insurers do not even object to the treatment of Class 9 Indirect Abuse Claims

given that BSA has represented that such claims will be paid in full along with Class

8 Direct Abuse Claims.30 The issue, instead, is whether any Class 9 Indirect Abuse

Claims will ever be allowed under the allowance provisions for Class 9, since

according to the FCR the Settlement Trust need not accept the obligations that arise

      29
           BSA Brief at 262-63; FCR Brief at 33-34.
        30
           A. 12496 ¶ 294 n.445 (“Indeed, Class 8 and Class 9 will receive payment
in full.”).
                                       - 13 -
under the Insurance Policies.     If all obligations under the Insurance Policies

magically disappear on the Effective Date, the Settlement Trustee will never be in a

position to allow Class 9 Indirect Abuse Claims so that they can be put in line for

payment in full alongside Class 8 claims.

      In re W.R. Grace Co., upon which BSA relies, is inapposite on this point. The

objecting parties there asserted disparate treatment and classification arguments,

which are positions that the Insurers have never taken here.31 Moreover, the

allowance provisions in the W.R. Grace trust distribution procedures largely track

the formulation that the Insurers asked the Bankruptcy Court to adopt in this case.32

Under those procedures, an indirect abuse claim filed against the trust was deemed

“presumptively valid” and was to be paid by the trust where the claimant could

establish that (i) the claimant paid the amounts for which it was seeking

reimbursement, (ii) the trust had received a release from both the direct and indirect

abuse claimants, and (iii) the claim was not otherwise barred by a statute of

limitations or repose or applicable law.33

      W.R. Grace did not require indirect abuse claimants to prove a negative, as is

the case here, such as proving that a claim is not subject to disallowance or




      31
         446 B.R. 96, 115-16 (Bankr. D. Del. 2011).
      32
         Id. at 116.
      33
         Id.
                                        - 14 -
subordination or proving that there is no defense to an Indirect Abuse Claim. That

is because such attempts to disallow, subordinate, or assert a defense against an

Indirect Abuse Claim are burdens that the Settlement Trust would bear under Section

502. Here, the Insurers are asking this Court to preserve their rights under Section

502 and recognize that their claims are presumptively valid as a consequence of the

Bankruptcy Code and the Insurers’ compliance with the Bar Date Order. The

simplest formulation for allowance provisions regarding Indirect Abuse Claims is to

provide that they will be allowed or disallowed in accordance with Section 502 of

the Bankruptcy Code.

      Finally, both BSA and the FCR argue that the Insurers should have no cause

for concern because they are entitled to de novo review after the fact if they are not

satisfied with the Settlement Trustee’s allowance and/or valuation of the Insurers’

claims. But neither addresses the underlying concern raised by the Insurers in the

Opening Brief: What exactly is a court reviewing de novo? Is it whether the

Insurers’ claims comply with the requirements of Section 502 of the Bankruptcy

Code? Or must the Insurers show that they satisfied the extraneous requirements for

claim allowance imposed by the TDPs? To the extent the Court is inclined to affirm

the Confirmation Order as it relates to the TDP claim allowance procedures, the

Insurers respectfully request that the Court rule that any de novo review must be to

determine compliance with Section 502, not the TDPs.


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III.   THE APPELLEE BRIEFS MISSTATE THE INSURERS’ POSITION
       AND THE GOVERNING LAW CONCERNING JUDGMENT
       REDUCTION.
       Despite a lengthy submission, the FCR offers virtually no response to the

Insurers’ claims regarding the Judgment Reduction Clause. The FCR does not, for

example, refute the Insurers’ showing that the Judgment Reduction Clause fails to

fully compensate excess Recovery Claims.34 Nor does the FCR explain why the

asymmetrical finality-of-judgment requirement is appropriate—or even necessary.35

       Instead, the FCR primarily attempts to conceal the prejudice to the Insurers

by dismissing it as unlikely.36 The FCR then devotes the remainder of his brief (as

it relates to the Judgment Reduction Clause) to a discussion of inapposite case law.37

This perfunctory approach falls far short of a valid opposition. The Confirmation

Order should be reversed.

       A.    The Injuries from the Inappropriate Finality-of-Judgment
             Provision Are Not Speculative.
       The FCR dismisses as speculative the Insurers’ concerns with the finality-of-

judgment requirement, claiming that the harms inherent in its asymmetry “simply


       34
         See generally FCR Brief at 36-42.
      35
         See generally id. at 42-44.
      36
         See, e.g., id. at 37 (“[I]t is unlikely that an Insurer will ever be required by
judgment to pay ‘more than their fair share’ in the first instance.”); id. at 43 (“The
harms that Allianz and Liberty speculate may befall them if the Trust seeks to
enforce its judgment before final judgment . . . simply will not occur.”).
      37
         See id. at 39-41.

                                         - 16 -
will not occur.”38 Thus, according to the FCR, the fact that the Settlement Trustee

may attempt to execute on a full (unreduced) judgment pending appeal is

unobjectionable because the Settlement Trustee would never “ignore the governing

Plan Documents.”39 And even if she did, the FCR contends that the Insurers are

adequately protected by their ability to seek “injunctive protection or damages.”40

These arguments are unavailing.

      As a threshold matter, the FCR’s arguments are not fully responsive to the

Opening Brief. The Opening Brief raised “at least two problems”41 with the

Judgment Reduction Clause’s lopsided finality requirement: first, it is unnecessary

and serves no articulable, legitimate purpose; and second, it will lead to prejudicial

results.42 Yet, the FCR ignores the first argument entirely, offering nothing in

defense of the purpose, structure, or necessity of the language.43

      The FCR Brief likewise fails to meaningfully rebut the prejudice to the

Insurers. The FCR instead merely offers his assurances that the Settlement Trustee




      38
         Id. at 43.
      39
         Id. at 43-44.
      40
         Id. at 44.
      41
         Opening Brief at 38-39.
      42
         Id. at 38-40.
      43
         See generally FCR Brief at 36-44.

                                        - 17 -
would never “ignore the governing Plan Documents.”44 But this is conjecture—not

proper argument—and is not probative of the likelihood of injury.

      More importantly, the FCR fundamentally misapprehends the nature of the

risk and the scope of the problem. The asymmetrical finality language is not

problematic because it prohibits a claim following the Settlement Trustee’s breach,

but because it inequitably and unnecessarily burdens the Insurers with the risk of

such a breach (and collateral consequences).45 This is a simple function of the

judgment amount entered at trial. If the judgment entered at trial first has been

reduced by the applicable offsetting Recovery Claim, then the Settlement Trustee

cannot execute on the full (unreduced) amount of such judgment. But if the trial

court in any Insurance Action enters against an Insurer a full (unreduced)

judgment—because the lopsided finality language prevented the contemporaneous

application of an offsetting Recovery Claim—then it becomes possible for the

Settlement Trustee to attempt to execute on that unreduced judgment amount once

the 30-day stay expires.46

      While the FCR insists that the Insurers simply can “enforce [the Plan

Documents] . . . by seeking injunctive protection or damages”47 after a breach (viz.,


      44
         Id. at 43.
      45
         See Opening Brief at 37-41.
      46
         See City of San Antonio v. Hotels.com, L.P., 141 S. Ct. 1628, 1632 (2021).
      47
         FCR Brief at 44.
                                       - 18 -
after the Settlement Trustee initiates collection on an unreduced, underlying

judgment pending appeal), no amount of post-hoc enforcement can prevent a breach

from occurring. It is at best an inadequate remedy after the fact. Rather than

discrediting the harm from the asymmetrical finality language, the FCR’s response

thus underscores one of the problems the asymmetry creates.

      The FCR also misperceives the other harmful consequence of the lopsided

language: a possible miscalculation of prejudgment interest.48 The FCR contends

that the Insurers “overlook the fact that pre-judgment interest stops accruing once a

judgment is entered”49 and, therefore, any accrual of prejudgment interest on an

unreduced judgment “would not occur between any initial judgment and final

judgment.”50 But this answers an argument the Insurers did not make. The prejudice

is that prejudgment interest may be assessed on the wrong amount – not that it may

continue to accrue between entry of an initial and final judgment.51 This arises

because the Judgment Reduction Clause permits (or does not prohibit) prejudgment

interest on a full judgment that later may be reduced by a final Recovery Claim.52




      48
         Cf. Opening Brief at 39-40.
      49
         FCR Brief at 44 n.50.
      50
         Id. (internal citations and quotations omitted).
      51
         See generally Opening Brief at 39-40.
      52
         See id.

                                        - 19 -
      An Insurer who at trial both (i) suffers entry of an adverse judgment (e.g.,

$100) and (ii) succeeds on a Recovery Claim (for, e.g., $50) should not face an award

of prejudgment interest on the entire underlying judgment ($100).53 Prejudgment

interest, if any, instead should be limited to the reduced judgment ($50).54 Yet the

requirement that a Recovery Claim be “final and non-appealable”55 before reducing

a judgment creates the potential for an assessment of prejudgment interest on the

unreduced judgment amount. This is inconsistent with the purpose of prejudgment

interest.56 It is also demonstrably prejudicial to the Insurers.

      More to the point, it is unnecessary – as is the risk of collection on an

unreduced judgment. Application of Recovery Claims to reduce judgments, if any,

contemporaneously with their entry at trial would eliminate the dangers and

prejudice inherent in the asymmetrical finality language. The FCR provides nothing

to refute this fact.57 Nor does the FCR explain whether, and if so why, the lopsided

language is necessary.58 As such, the Judgment Reduction Clause could, and should,


      53
          Cf. Olin Corp. v. Lamorak Ins. Co., No. 84-CV-1968 (JSR), 2018 U.S. Dist.
LEXIS 65446, at *46 (S.D.N.Y. Apr. 17, 2018) (“[P]re-judgment interest is properly
calculated on the damages amount that [defendant] is ordered to pay after application
of a set-off or judgment reduction.”).
       54
          Cf. id.
       55
          A. 338-39 ¶ 51(b).
       56
          See Olin, 2018 U.S. Dist. LEXIS 65446, at *45-46.
       57
          See generally FCR Brief at 36-44.
       58
          See generally id.

                                         - 20 -
have been revised to eliminate its asymmetrical finality requirement. The failure to

do so was error, and the Confirmation Order should be reversed.

      B.      The Judgment Reduction Clause Does Not Adequately Protect the
              Insurers’ Recovery Claims.

      The FCR offers two reasons why the Judgment Reduction Clause is adequate:

(1) Recovery Claims are “adequately protected” because they are unlikely to arise

in the first instance;59 and (2) Plant Insulation60 supports the Judgment Reduction

Clause, while Fraser’s Boiler Service61 is inapposite.62 Each of these arguments is

unavailing.

              i.   The FCR’s Probability-Based Argument Is Logically and
                   Factually Flawed.
      According to the FCR, the Judgment Reduction Clause provides “at least

‘adequate’”63 protection for Recovery Claims because “the likelihood that any

Insurer is saddled with significant costs of defending . . . Abuse Claims in the tort

system is small.”64 In support, the FCR contends that the Insurers’ “net expenditures




      59
        Id. at 37.
      60
        In re Plant Insulation Co., 469 B.R. 843 (Bankr. N.D. Cal. 2012).
     61
         In re Fraser’s Boiler Serv., No. 3:18-CV-05637-RBL, 2019 U.S. Dist.
LEXIS 37840 (W.D. Wash. Mar. 8, 2019).
     62
        See FCR Brief at 39-42.
     63
        Id. at 41.
     64
        Id. at 36.

                                       - 21 -
for the defense of Abuse Claims are likely to be substantially reduced”65 because

“the TDPs were designed to resolve virtually all claims through out-of-court

processes.”66 This assertion is unsupported by any citation to record evidence and,

in any event, is logically deficient.

      The FCR’s contention rests on an assumption that a decrease in the number

of Abuse Claims brought in the tort system translates into a reduction in net defense

expenditures.67 But one does not necessarily follow the other. A net reduction could

occur only if the TDPs’ “out-of-court processes” removed from the tort system

Abuse Claims that would have been brought there originally. And there is no

evidence to suggest that this is, or will be, the case. On the contrary, the 6,000%

increase in the number of Abuse Claims following the Petition Date68 supports the

opposite inference, as does the unrefuted testimony—from BSA’s own expert—that

many of the Abuse Claims would never have been brought in the tort system.69 The

FCR’s reasoning should be rejected.




      65
         Id. (emphasis in original).
      66
         Id.
      67
         Cf. id.
      68
         See Dkt. No. 45 at 18.
      69
         See A. 2285-87; A. 2425.
                                        - 22 -
              ii.     The FCR’s Precedential Arguments Are Incorrect.

      The FCR advances two precedent-based arguments in the FCR Brief: (1)

Plant Insulation demonstrates that the Judgment Reduction Clause is appropriate;

and (2) Fraser’s Boiler Service is inapplicable. Neither argument has merit.

                      1.   Plant Insulation Is Inapposite.

      The FCR relies on Plant Insulation throughout the FCR Brief, citing to it as

support for the following: (1) Recovery Claims do not “rise to the level of a property

right”;70 (2) a reduction in “the number of claims an insurer must defend” protects

the Insurers;71 and (3) more robust protections for Recovery Claims would prejudice

the Abuse Claimants.72 But Plant Insulation is inapposite, and the FCR’s reliance

on it is misplaced.

      Plant Insulation arose out of an asbestos bankruptcy and related Chapter 11

plan.73    This plan (the “Plant Plan”) provided for, among other things, the

establishment of a Section 524(g) trust (the “Plant Trust”).74 The Plant Trust was

funded primarily by settlement payments from certain of Plant Insulation’s insurers,

who were protected from further liability by an injunction.75 Among other things,

      70
         FCR Brief at 40.
      71
         Id. at 41.
      72
         Id.
      73
         469 B.R. at 848.
      74
         Id.
      75
         Id.; see also id. at 854.

                                        - 23 -
this injunction barred the non-settling insurers (“NSI”) from asserting equitable

contribution claims against the settling insurers.76 The Plant Plan therefore provided

the NSI with a judgment reduction that reduced any judgment by (i) any amount

previously paid to the applicable claimant by the Plant Trust and (ii) the value of any

equitable contribution claim that the NSI would have had against any settling

insurer.77    However, the judgment reduction provision excluded equitable

contribution claims that did not arise from an adverse judgment.78

       The NSI therefore objected to confirmation of the Plant Plan.79 They argued,

among other things, that the Plant Plan was not fair and equitable because it denied

them the majority of the value “of their lost equitable contribution rights”80 – and

that the Plant Plan could be fair and equitable only if (i) it permitted them to assert

against the Plant Trust the equitable contribution rights the Plant Plan enjoined and

(ii) “all such claims were paid a 100-percent dividend.”81




       76
          Id. at 848.
       77
          Id. at 873.
       78
          Id. at 876-77.
       79
          Id. at 857-58.
       80
          Id. at 874.
       81
          Id.

                                        - 24 -
      The bankruptcy court overruled the NSIs’ objections and confirmed the Plant

Plan.82 The primacy of Section 524(g) over practically all other considerations is an

animating principle that appears throughout the decision.83 The bankruptcy court,

for example, relied on Section 524(g) to enjoin the NSI equitable contribution claims

without compensation in return.84 The bankruptcy court also expressed a concern

that the trust backstop “would interfere with the operation of [S]ection 524(g),”85

including by causing delays in payments to claimants if the Plant Trust were required

to create reserves, and by elevating the NSI claims against the Plant Trust over those

of the claimants.86

      That animating principle is absent here because this case does not involve an

asbestos trust. Section 524(g), therefore, does not apply.87 The Ninth Circuit in

Plant Insulation recognized this distinction, noting that “[a] common theme in the

cases on which both the Non-Settling Insurers and Dow Corning itself relied is that

they do not involve asbestos or injunctions under § 524(g). . . . In contrast, the plain

language of § 524(g) explicitly permits injunctions of the Non-Settling Insurers


      82
          Cf. Fireman’s Fund Ins. Co. v. Plant Insulation Co. (In re Plant Insulation
Co.), 734 F.3d 900, 907-08 (9th Cir. 2013).
       83
          See generally Plant Insulation, 469 B.R. 843.
       84
          Id. at 875.
       85
          Id. at 879.
       86
          Id.
       87
          See 11 U.S.C. § 524(g).

                                         - 25 -
claims and nowhere provides for any compensation of their lost rights.”88 For this

reason alone, the FCR’s reliance on Plant Insulation is misplaced.

      Further, the facts of Plant Insulation are distinguishable. First, the bankruptcy

court in Plant Insulation held the injunction against equitable contribution claims

posed a threat to the non-settling insurers only when the settling insurers represent a

significant portion of the total risk, which had not occurred.89 But, the record here

shows that up to 90% of the aggregate liability for Abuse Claims can be allocated to

the Settling Insurance Companies’ policies.90 The risk articulated in Plant Insulation

therefore is present here. Second, the bankruptcy court in Plant Insulation held that

the trust backstop would overcompensate the non-settling insurers because the

asbestos claimants were not being paid in full.91 Here, however, the Bankruptcy

Court held that Abuse Claims will likely be paid in full.92 Third, the court in Plant

Insulation relied at least in part on the policy objectives under Section 524(g) to

determine that the delay associated with the creation of trust reserves was

unacceptable.93 Those policy concerns are not present here.94 Moreover, the FCR’s


      88
         734 F.3d at 912.
      89
         469 B.R. at 878-79.
      90
         Opening Brief at 34. The FCR failed to contest this point in the FCR Brief.
      91
         469 B.R. at 879.
      92
         Cf. A. 12496 ¶ 294 n.445.
      93
         See 469 B.R. at 879.
      94
         See 11 U.S.C. § 524(g).

                                        - 26 -
professed concerns with the creation of Trust reserves are inconsistent with his

repeated assertions that Recovery Claims are unlikely to arise.95 Recovery Claims

cannot both be unlikely and so prevalent that the creation of reserves will have a

materially negative effect on the Abuse Claimants. But in either event, Plant

Insulation is wholly distinguishable and should not be followed here.

                   2.     Fraser’s Boiler Service Applies.

      The FCR asserts that Fraser’s Boiler Service is inapplicable.96 According to

the FCR, that decision rested on “(i) the Ninth Circuit’s blanket prohibition against

non-debtor releases . . ., (ii) the existence of a separate prepetition contract among

insurers as the basis for contribution claims, and (iii) a plan structure that

contemplated non-settling insurers would continue regularly defending claims in the

tort system.”97 These arguments miss the mark. First, the District Court’s opinion

on the sufficiency of the FBS Reduction98 was not premised on the Ninth Circuit’s

prohibition against non-debtor releases. Rather, the District Court determined that

even if the FBS Settlement99 were reasonable, it did not adequately protect the




      95
         Cf. FCR Brief at 37, 41.
      96
         Id. at 42.
      97
         Id.
      98
         Opening Brief at 32.
      99
         Id. at 31.

                                        - 27 -
Remaining FBS Insurers100 through the FBS Reduction.101 The analysis, therefore,

did not turn on whether non-debtor releases are permissible.102

      Second, while the Remaining FBS Insurers had claims against the Settling

FBS Insurers under a prepetition contract, the Remaining FBS Insurers also had

claims under an equitable contribution theory.103 Thus, the decision did not depend

solely on the existence of a separate prepetition contract.

      Finally, Fraser’s Boiler Service did not appear to rest on the non-settling

insurers’ regular, continued defense of claims in the tort system. To the contrary,

the District Court noted that “all asbestos claims against FBS so far have resulted in

settlements.”104 And even if the opinion relied on the regular defense of claims in

the tort system, the FCR’s assertion that defense costs will be reduced is entirely

speculative, particularly considering the explosion of Abuse Claims. As a result, the

FCR fails to distinguish Fraser’s Boiler Service, and it should inform the outcome

here for the reasons set forth in the Opening Brief.


      100
          Id. at 32.
      101
          2019 U.S. Dist. LEXIS 37840, at *29.
      102
          The FCR’s argument on this point is curious since he heavily relies on the
Ninth Circuit decision in Plant Insulation.
      103
          Compare 2019 U.S. Dist. LEXIS 37840, at *6 (“Those claims . . . include
equitable contribution and breach of contract claims based on the Cost Sharing
Agreement . . . between FBS’s various insurers.”), with id. at *18 (“Here, in contrast,
the Non-Settling Insurers’ rights derive from equity and the CSA, an entirely
separate contract between the insurers.”).
      104
          Id. at *30.
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                                CONCLUSION
      For the reasons set forth herein and in the Opening Brief, the Confirmation

Order should be reversed and remanded with instructions to remedy these

problematic provisions to comply with the Bankruptcy Code and applicable law.




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Respectfully Submitted,

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                    CERTIFICATION OF COMPLIANCE
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